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                                                             Monday, 01 March, 2021 11:54:24 AM
                                                                   Clerk, U.S. District Court, ILCD

             IN THE UNITED STATES DISTRICT COURT
          CENTRAL DISTRICT OF ILLINOIS, PEORIA DIVISION

MICHELLE M, REED, JULIA K.   )
MCLINDEN, individually and on)
behalf of a collective of persons
                             )
similarly situated,          )
                             )
            Plaintiff,       )
                             )
     v.                      )              Case No. 19-cv-1412
                             )
METHODIST HEALTH             )
SERVICES CORP., an Illinois  )
corporation d/b/a UNITYPOINT )
HEALTH-PEKIN, UNITYPOINT     )
HEALTH-METHODIST             )
HOSPITAL & UNITYPOINT        )
HEALTH-PROCTOR HOSPITAL; )
and PROGRESSIVE HEALTH       )
SYSTEMS,                     )
                             )
            Defendants.      )

                    REPORT AND RECOMMENDATION

TOM SCHANZLE-HASKINS, U.S. MAGISTRATE JUDGE

      This matter comes before the Court for a Report and

Recommendation on the Plaintiff’s Motion for Conditional Certification and

for Court-Supervised Notice to Issue (d/e 24) (Motion). For the reasons set

forth below, this Court recommends that the Motion should be ALLOWED

in part. The Court should grant conditional certification of the Plaintiffs’




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proposed collective class and direct the parties to confer and agree on the

text of the notice to be sent to similarly situated persons.

                               BACKGROUND

      Plaintiffs Michelle Reed and Julia McLinden bring this action for

unpaid overtime under the Fair Labor Standards Act, 29 U.S.C. § 201 et

seq. (FLSA). Plaintiffs formerly worked at UnityPoint Health-Pekin Hospital

in Pekin, Illinois (Pekin Hospital). Plaintiffs allege that Defendant Methodist

Health Services Corporation (UnityPoint) operated three hospitals: Pekin

Hospital, UnityPoint Health-Methodist Hospital (Methodist Hospital), and

UnityPoint Health-Proctor Hospital (Proctor Hospital) (collectively the

Hospitals). Methodist Hospital and Proctor Hospital are both in Peoria,

Illinois. Plaintiffs allege that Defendant Progressive Health Systems

(Progressive) was the parent corporation for Pekin Hospital. Plaintiffs

allege that UnityPoint acquired Pekin Hospital in January 2017. Plaintiffs

allege that Defendants employed them at relevant times at Pekin Hospital.

Collective Action Complaint (d/e 1) (Complaint), ¶¶ 3, 4, 11.

      Plaintiffs are both Registered Nurses and worked as Case Managers

at Pekin Hospital. Plaintiff Reed became a part-time Case Manager in

June 2016 and then became a full-time Case Manager in September 2017,

and worked in that position until her employment at Pekin Hospital ended in

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March 2019. Plaintiff McLinden worked as a Case Manager from 2015

through the end of her employment at Pekin Hospital in December 2019.

Plaintiffs allege that Case Managers’ job duties consisted of “reviewing

patients’ chart (sic), interviewing patients, and discharge planning and set

up for needed services.” From June 2016 through February 2018, Plaintiffs

were paid on an hourly basis and were paid one and one-half times their

regular pay rate (overtime pay) for all hours worked in excess of 40 hours a

week (overtime). Plaintiffs were also paid “on-call pay” for time worked on

evening and weekends every other week. Complaint ¶¶ 11-28.

      Plaintiffs bring the action on behalf of themselves and a class of all

similarly situated employees at all three Hospitals in a collective action

pursuant to FLSA 29 U.S.C. § 216(b). Plaintiffs allege the class of

employees in this collective action (Proposed Class) are:

      FLSA Collective Class: All persons who are, have been, or will
      be employed by either Defendant or both Defendants as Case
      Managers or other similar job positions, and whose primary job
      responsibilities were to provide discharge planning or case
      management services, at any time from three years prior to the
      filing of this Complaint through the entry of judgment, and
      whose compensation classification was identified as ‘exempt’
      and/or who were denied overtime pay at one and one half times
      their regular hourly rate for any time worked beyond forty hours
      in a work week.

Complaint, ¶ 31.



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      Defendants admitted in their Answer that they employed Plaintiffs as

Case Managers at Pekin Hospital; that Defendants employed others as

Case Managers; that from 2016 until February 2018, Case Managers were

paid on an hourly basis, were paid overtime pay for overtime, and were

paid on-call pay; that starting in February 2018, Defendants paid Case

Managers on a salary basis; that Plaintiffs worked overtime after February

2018; that the Defendants knew that Plaintiffs worked overtime and

permitted them to do so; that Defendants did not pay Plaintiffs overtime pay

for overtime; that Defendants no longer paid on-call pay to Case Managers

after February 2018. Defendants assert that they stopped paying Plaintiffs

overtime pay because Plaintiffs’ positions as Case Managers were exempt

from FLSA requirements to pay overtime pay. Defendants’ Answer to

Collective Action Complaint (11) (Answer) ¶¶ 7, 8, 9, 11, 12, 13, 15, 17, 18,

21, 27, and Affirmative Defenses ¶ 2.

      Defendants agree in their Response to the Motion that the duties of

Case Managers at the three Hospitals included “reviewing patient charts,

interviewing patients, discharge planning, and setting up needed services.”

Defendants’ Response to Plaintiff’s Motion for Certification [d/e #24] (d/e

27) (Response), at 13. Defendants listed in their answers to Plaintiffs’

interrogatories that during the relevant period, Defendants employed 30

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employees as Case Managers at Methodist Hospital, one employee as a

Case Manager at Proctor Hospital, and three employees (including

Plaintiffs) as Case Managers at Pekin Hospital. Plaintiffs’ Reply to

Defendants’ Response to Plaintiffs’ Motion for Conditional Certification and

for Court-Supervised Notice to Issue (d/e 29) (Reply), Exhibit 4,

Defendants’ Answers to Plaintiff Michelle Reed’ First Set of Interrogatories

(Interrogatory Answers), Answer to Interrogatory 12.

     Plaintiffs submitted their declarations in support of the Motion. Motion,

Exhibits 1 and 2, Declaration of Michelle Reed (Reed Declaration) and

Declaration of Julia McLinden (McLinden Declaration). Plaintiff Reed also

attached as Exhibit A to her declaration a notice from UnityPoint Health

Human Resources Department dated January 22, 2018 (Reclassification

Notice). McLinden received the same Reclassification Notice. McLinden

Declaration ¶ 10.

     Reed recounted her work history at Pekin Hospital in her declaration.

She was a full-time Case Manager beginning in September 2017. Reed

stated that she worked with and observed Case Managers who worked at

Methodist Hospital and Proctor Hospital. Reed Declaration ¶ 3. She

described the duties of a Case Manager:

     10. My primary duties, and the duties of each of the Case
     Managers at all times consisted of calling patients, scheduling
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      patients for discharge transportation, scheduling dates to move
      patients to other levels of care and for discharge, phone calls to
      family members to assist in arrangements, and occasionally
      scheduling care conferences with family members and
      physicians, all under the guidance and direction of the assigned
      physician.

Reed Declaration ¶ 10. Reed further stated that Case Managers did not

perform any managerial functions or functions that required the exercise of

independent judgment:

      12. My job duties and the duties of other Case Managers I
      observed did not require the exercise of independent judgment
      with respect to matters of significance; and I was not involved in
      managing hospital business operations. I relied on manuals and
      guidelines to perform my duties, which primarily consisted of
      inputting data into forms. For many continued stay requests, I
      used a web-based format that was provided by Unity Point. My
      work was supervised by a Director of Case Management,
      Sherry Hoffman, and then Interim Director of Case
      Management Samantha Nelson, and I had no control over
      which cases I worked on. I did not supervise any employees
      and did not have any managerial discretion nor was I
      responsible to hire or fire employees or interview job applicants.
      I did not deliver or administer services directly to patients and
      did not provide clinical care, did not make decisions concerning
      patient care, nor make final determinations about whether or
      not a patient was certified for additional days in the facility.

Reed Declaration ¶ 12. Reed stated that she, Plaintiff McLinden, and the

other Case Managers at all three hospitals “performed essentially the same

job responsibilities.” Reed Declaration, ¶ 14. Defendants also produced in

discovery a single job position description for Case Managers for

UnityPoint facilities in central Illinois, which would include all three
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Hospitals.1 Reply, Exhibit 5, UnityPoint Job/Position Description for the

position of “RN Case Manager.”

        McLinden recounted in her Declaration her employment history at

Pekin Hospital. McLinden stated that Case Managers at Proctor Hospital

and Methodist Hospital had the same duties as she and Reed:

        9. I became aware that Unity Point Health - Pekin Hospital and
        other Unity Point Health facilities in the area also utilized
        persons who worked as Case Managers, with the same duties
        and responsibilities that I had. I spoke with many of these
        persons, including in monthly meetings, in connection with my
        duties as Case Manager, and in other periodic scheduled
        meetings, and learned that our duties as Case Manager were
        very similar to those working at other Unity Point locations.

McLinden Declaration ¶ 9. McLinden further described the primary duties

of Case Managers:

        11. My primary duties, and the duties of each of the Case
        Managers at Unity Point-Pekin and other Unity Point facilities at
        all times consisted of calling patients, scheduling patients for
        discharge transportation, scheduling dates to move patients to
        other levels of care and for discharge, phone calls to family
        members to assist in arrangements, and occasionally
        scheduling care conferences with family members and
        physicians, all under the guidance and direction of the assigned
        physician.




1
 The position description applied to UnityPoint positions in Central Illinois. This case does not concern
other hospitals elsewhere that may use the name UnityPoint. All three of the Hospitals at issue are in
central Illinois.
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McLinden Declaration ¶ 11. McLinden also reiterated the statements in

paragraphs 10 and 12 of the Reed Declaration, quoted above. McLinden

Declaration ¶¶ 13, 15.

        Reed attached to her Declaration a copy of the Reclassification

Notice. The Reclassification Notice discussed the U.S. Department of

Labor’s Wage and Hour Division (Wage and Hour Division) regulations

regarding jobs that are exempt from the FLSA overtime pay requirements.

The regulations state an employee is exempt from the FLSA overtime pay

requirements (and so are not entitled to overtime pay) if the employee

earns more than $455 per week, is paid on a salary basis, and is

employed, inter alia, in “a bona fide administrative capacity” or “a bona fide

professional capacity” (exempt position). 29 C.F.R. §§ 541.100 – 541.710.2

An employee is employed in a bona fide administrative capacity if the

employee performs non-manual work:

        (2) Whose primary duty is the performance of office or non-
        manual work directly related to the management or general
        business operations of the employer or the employer's
        customers; and

        (3) Whose primary duty includes the exercise of discretion and
        independent judgment with respect to matters of significance.




2
 The § 541 exemptions to overtime requirements also apply to employees employed in executive,
computer, or outside sales capacities. Those employment capacities are not at issue in this case.
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29 C.F.R. §§ 541.200(a)(2) and (3). An employee is employed in a bona

fide professional capacity if the employee’s:

     [P]rimary duty is the performance of work:

     (i) Requiring knowledge of an advanced type in a field of
     science or learning customarily acquired by a prolonged course
     of specialized intellectual instruction; or

     (ii) Requiring invention, imagination, originality, or talent in a
     recognized field of artistic or creative endeavor.

29 C.F.R. § 541.300(a); see also 29 C.F.R. 541.301(e)(2) (registered

nurses generally meet the requirement for professional exemption from

overtime pay).

      The Reclassification Notice stated that the Wage and Hour Division

had amended § 541 of the regulations to increase the minimum salary for

exempt positions under from $455 per week to $913 per week. The

change was effective December 1, 2016. UnityPoint complied with the

change in § 541 and reclassified certain jobs as “non-exempt” and so

subject to the overtime pay requirements of the FLSA. Thus, beginning in

2016, UnityPoint paid Reed and McLinden on an hourly basis and paid

each of them overtime pay for overtime. The Reclassification Notice further

explained that a federal judge permanently enjoined the implementation of

the new regulations. As a result, the minimum salary for exempt

employees reverted to $455 per week. The Reclassification Notice notified
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Reed and McLinden that in light of the injunction, their Case Manager jobs

would be reclassified as exempt positions, and they would be paid on a

straight salary basis without overtime pay effective February 4, 2018.

Reclassification Notice. Defendants also stated in discovery that

Defendants classified 28 Case Managers at all three Hospitals as exempt

positions. Reply, Interrogatory Answers, Answer to Interrogatory 12.

      Plaintiffs claim that Case Manager positions at the Hospitals are in

fact non-exempt positions and they are entitled to unpaid overtime pay for

overtime worked after February 2018. Plaintiffs move to conditionally

certify the Proposed Class for a collective action on behalf of Plaintiffs and

other similarly situated Case Managers pursuant to 29 U.S.C. § 216(b) and

to authorize Plaintiffs to send a court-approved notice to such individuals in

the Proposed Class. Defendants oppose the Motion.

                                 ANALYSIS

      Employees who were not paid overtime pay to which they were

entitled under the FLSA may bring an action against the employer to

recover the unpaid overtime. Employees may recover unpaid overtime

earned within two years of the filing of the action; provided however, that if

the employer willfully failed to pay the overtime pay, the employees may

recover overtime pay earned within three years of filing the action and may

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also recover liquidated damages equal to the amount of the unpaid

overtime. 29 U.S.C. §§ 207, 216, 255(a).

      An action for unpaid overtime under the FLSA may be brought “by

any one or more employees for and in behalf of himself or themselves and

other employees similarly situated.” on behalf of himself or herself and one

or more similarly situated employees. 29 U.S.C. § 216(b). The similarly

situated employees must consent in writing to becoming a party and the

consent must be filed with the Court. Id. Section 216(b) does not set forth

procedures for collective actions. Class action procedures under Rule 23

are preempted by § 216(b) and do not apply. See King v. General Elec.

Co., 960 F.2d 617, 621 (7th Cir. 1992); LaChapelle v. Owens-Illinois, Inc.,

513 F.2d 286, 289 (5th Cir. 1975).

      Most courts, including this Court, have adopted a two-step approach

to certifying a collective action under § 216(b). See Smith v. Alamo Claim

Service, 2015 WL 13594414, at *2 (C.D. Ill. March 31, 2015) (collecting

cases from District Courts in the Seventh Circuit). Under this approach, the

plaintiff at the first step in the process must only make a “modest factual

showing” that other employees are similarly situated and that “the potential

plaintiffs together were victims of a common policy or plan that violated the

law.” Smith, 2015 WL 13594414, at *2 (quoting Taillon v. Kohler Rental

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Power, Inc., 2003 WL 206593, at *1 (N.D. Ill. April 29, 2003). Upon making

this showing, the Court conditionally certifies the collective action and

authorizes the plaintiff to send a court-approved notice to potential plaintiffs

in the defined class. Interested members of the conditional class may then

opt into the class by filing written consents to participate in the action as a

member of the class. The second step in the certification process occurs

after completion of discovery. At the second step, the Court determines

whether the conditional class members are actually similarly situated or

whether the conditional class should be restricted or decertified. Smith,

2015 WL 1354414, at *3.

      The Plaintiffs’ Motion comes at the first step of the two-step process.

The Plaintiffs, therefore, need only make a modest factual showing that

Case Managers at the Hospitals are similarly situated and subject to a

common policy or plan that violated the FLSA. The Plaintiffs have met their

burden. The allegations to which the Defendants admit in their Answer

establish that the Defendants were the employers and that they employed

Plaintiffs as Case Managers at Pekin Hospital and that the Defendants

employed other Case Managers. Defendants further stated in discovery

that during the relevant period they employed 30 Case Managers at




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Methodist Hospital, one Case Manager at Proctor Hospital, and an

additional Case Manager at Pekin Hospital besides the Plaintiffs.

      Plaintiffs further state in their declarations that in the course of their

work at Pekin Hospital they worked with and observed Case Managers at

Methodist Hospital and Proctor Hospital and learned that the Case

Managers at those facilities performed the same functions that Plaintiffs

performed at Pekin Hospital. See Reed Declaration ¶ 3; McLinden

Declaration ¶ 9. Defendants also agreed in their Response that duties of

Case Managers at the three Hospitals included “reviewing patient charts,

interviewing patients, discharge planning, and setting up needed services.”

Response, at 13. The Defendants also produced in discovery a single job

description for all Case Managers at all three Hospitals. This evidence

tends to show that Case Managers at the three Hospitals were similarly

situated.

      Plaintiffs further state in their declarations that Case Manager

positions “do not require the exercise of independent judgment with respect

to matters of significance; and I was not involved in managing hospital

business operations.” Reed Declaration ¶ 12, quoted above; McLinden

Declaration ¶ 13. Plaintiffs also allege and Defendants agree that Case

Managers’ duties included reviewing patient charts, interviewing patients,

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discharge planning, and setting up needed services. This evidence tends

to show that Case Managers were not engaged in the practice of providing

nursing care to patients. The Plaintiffs thereby have made a modest

factual showing that Case Managers were not employed in a bona fide

administrative or professional capacity, and so, were not employed in

exempt positions under the § 541 regulations. As employees working in

non-exempt positions, they were entitled to overtime pay for the overtime

that they worked.

     The Plaintiffs further have presented a modest factual showing that

Defendants subjected all Case Managers to the same policy to deny them

overtime pay. The Reclassification Notice supports the inference that the

Defendants as a matter of policy changed the classification of Case

Managers to exempt positions in February 2018. The Reclassification

Notice indicates that UnityPoint reclassified many positions when the

federal court permanently enjoined the implementation of the new § 541

regulations. The Defendants also stated in their Answer and asserted as

an affirmative defense that the Defendants classified Reed and McLinden’s

positions as Case Managers as exempt positions after February 2018. The

Defendants stated in their answers to interrogatories that they classified 28

Case Manager positions as exempt positions.

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      The Defendants’ admissions in their Answer, the Reclassification

Notice, the declarations of Reed and McLinden, and Defendants’ discovery

responses provide the modest factual showing necessary to show that the

Plaintiffs’ Proposed Class were similarly situated, were not employed in

either bona fide administrative or professional positions, and were all

subjected to Defendants’ policy to treat Case Managers as exempt from

overtime pay. The collective claims would have the same central issue,

whether the Defendants’ policy to classify Case Managers at the Hospitals

as exempt positions violated the FLSA. The Plaintiffs request to proceed in

a collective action should be allowed.

      Defendants argue that Plaintiffs should not be allowed to proceed

with a collective action at this time because Defendants were not Plaintiffs’

employer at Pekin Hospital. They assert that Defendant UnityPoint is a

parent corporation that owns three subsidiary Illinois not-for- profit

corporations The Methodist Medical Center of Illinois, Proctor Hospital, and

Pekin Memorial Hospital. Response, Exhibit A, Declaration of Kami

Petitgoue ¶ 3. Each subsidiary owns and operates one of the Hospitals.

They assert that Progressive Health Systems previously was the sole

member of Pekin Hospital, but was dissolved July 2020 and no longer

exists. Id. ¶ 5.

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     The Court disagrees. Defendants admitted in their Answer they were

employers and employed Plaintiffs. Defendants further admitted that they

employed other Case Managers. Answer ¶¶ 7, 8, 9, and 15. Those

admissions are judicial admissions that the Court and the Plaintiffs can take

as true. See Kohler v. Leskie Hindman, Inc., 80 F.3d 1181, 1185 (7th Cir.

1996). Defendants further concede that the term “employer” under the

FLSA is broad enough to encompass parent corporations such as

UnityPoint and the dissolved Progressive Health Systems that “suffer or

permit work.” See Response, at 4 (citing 29 U.S.C. § 203(g); Rutherford

Food Corp. v. McComb, 331 U.S. 722, 728 (1947). Defendants admitted

in their Answer that Defendants permitted Reed and McLinden to work

overtime as Case Managers without receiving overtime pay. Defendants

also stated in their discovery responses that they had a single job

description for Case Managers at all three Hospitals and that they

employed Case Managers at all three of the Hospitals. Defendants further

concede that Plaintiffs can proceed against a dissolved corporate entity like

Progressive Health Systems. Response, at 5. In light of the Defendants’

judicial admissions and the other evidence, the Court sees no reason to

delay conditional certification of the Proposed Class.




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      Defendants argue that they should be allowed to present substantive

defenses before sending notices for a collective action. The Defendants

are wrong. The first step of conditional class certification only requires a

modest factual showing by the Plaintiffs before certifying a conditional class

and sending the notice. The substantive issues, including defenses, will be

considered at the second step in the two-step process. Smith, 2015 WL

1354414, at *3. The Defendants, inconsistently, concede elsewhere in

their Response that their substantive defenses should not be considered at

this point, “Defendants are also mindful that conditional certification is not

the time to advance substantive defenses to the Plaintiffs’ claims, or to

attempt to dispute evidence.” Response, at 2 (citing Smith, 2015 WL

13594414, at *4.). Defendants may dispute substantive issues and raise

defenses at the second step of class certification, not now.

      The Defendants’ proposal to delay ruling on the first step in the

collection action certification process may also prejudice potential class

members. The two-year or three-year statute of limitations for each

employee runs until the date that each employee files a written consent to

opt into the action. 29 U.S.C. § 256; see Calloway v. AT&T Corp., 419

F.Supp.3d 1031, 1034-355 (N.D. Ill. 2019); see also Grayson v. K Mart

Corp., 79 F.3d 1086, 1106 (11th Cir. 1996). Some members of the

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Proposed Class may have some or all of their claims barred by the statute

if they do not receive notice until after Defendants litigate the substance of

Plaintiffs’ claims.

      The Defendants cite as support for their argument that the Court

should consider substantive issues before conditional certification, the case

of Hollins v. Regency Corp., 144 F.Supp.3d 990, 991 n.2 (N.D. Ill. 2015)

affirmed, 867 F.3d 830, 832 (7th Cir. 2017). The parties in Hollins agreed to

proceed with defendant’s summary judgment motion before conditional

class certification. See 867 F.3d at 832. The parties have made no such

agreement here. Substantive issues should not be decided at step one of

the collective class certification process. Smith, 2015 WL 13594414, at *4.

      Defendants also argue that Reed and McLinden have failed to

present a modest factual showing that Case Managers at all three

Hospitals are similarly situated. The Court disagrees. Reed and McLinden

stated in the declarations that they worked with Case Managers from the

other two hospitals, talked to Case Managers from the other two hospitals,

and observed Case Managers from the other two hospitals. Reed and

McLinden’s statements under penalty of perjury that the Case Managers at

all three hospitals performed the similar functions, therefore, were based on

personal knowledge.

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     In addition, the Defendants agreed that Case Managers at all three

hospitals performed the functions of reviewing patient charts, interviewing

patients, discharge planning, and setting up needed services. Defendants

further produced in discovery a single job description for Case Managers at

the Hospitals and admitted that they classified Case Managers at all three

Hospitals as exempt positions. The declarations, combined with the

Defendants’ agreement regarding the duties of Case Managers at all the

Hospitals, the single job description for Case Managers at all three

Hospitals, and the fact that Defendants consistently classified Case

Managers at all three Hospitals more than meets the low standard of

making a modest factual showing necessary to conditionally certify the

Proposed Class.

     Defendants argue that the proposed class is too small. Defendants

urge the Court to require Plaintiffs to meet the numerosity requirement of

Rule 23. The Court again disagrees. Section 216(b) states that “one or

more” employees who are similarly situated may bring a collective action.

The statutory language shows that the numerosity requirement of Rule 23

does not apply because one or more employees can bring a collective

action under FLSA § 216(b). The Seventh Circuit has also held that Rule




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23 requirements do not apply to FLSA collective actions. King, 960 F.2d at

621.

       The Defendants cite dicta in Espenscheid v. DirectSat USA, LLC, 705

F.3d 770, 772 (7th Cir. 2013), to support their argument that the Proposed

Class must meet the Rule 23 numerosity requirement. The plaintiffs in

Espenscheid brought both an FLSA § 216(b) collective action claim and

class action claims governed by Rule 23. The District Court in

Espenscheid applied Rule 23 considerations in addressing certification

issues for all of the claims. The dicta in Espenscheid commented on the

District Court’s decision to use Rule 23 considerations for all the claims.

The Espenscheid Court did not hold that Rule 23 considerations apply to §

216(b) collective actions. In addition, numerosity was not an issue in

Espenscheid because the proposed class consisted of a large number of

class members, 2,341 individuals. Id. The dicta in Espenscheid does not

change the express language in § 216(b) that collective claims may be

brought by one or more employees. The Espenscheid opinion also did not

overrule the Seventh Circuit’s decision in King that § 216(b) preempted

Rule 23 for collective actions brought under that section. The Rule 23

numerosity requirement does not apply to FLSA collective actions.




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      This Court recommends that the Plaintiffs’ Proposed Class should be

conditionally certified, and a court-approved notice should be sent to the

proposed class members. To facilitate sending the court-approved notice,

the Court should direct Defendants to produce to Plaintiffs within seven

days of approval of this Report and Recommendation:

      A list, in Excel format, of all persons employed by Health
      Services Corporation and/or Progressive Health Systems in
      Case Management, Utilization Review, and similar positions in
      Defendants’ hospitals or other health care facilities in the State
      of Illinois from December 23, 2016 to the present, including
      their name, last known address, email address, telephone
      number, dates of employment, location of employment, last four
      digits of their social security number, and date of birth.

See Motion, at 14 (Excel Spreadsheet).

      Finally, the parties disagree on some of the language in the Plaintiffs’

proposed notice. It appears that the parties may be able to resolve at least

some of their differences on the language of the notices. See Plaintiffs’

Reply to Defendants’ Response to Plaintiffs’ Motion for Conditional

Certification and for Court-Supervised Notice to Issue (d/e 29), at 11

(Plaintiffs “are willing to confer with defense counsel and attempt to present

an agreed form of notice.”). The Court should direct the parties to meet and

confer and agree on the language for the notice within 14 days of approval

of this Report and Recommendation. If the parties cannot agree, each

should submit its proposed language within 14 days of approval of this
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Report and Recommendation, and the Court should approve a final version

of the notice. Upon approval of the notice, the Court should authorize

Plaintiffs to send the notice to the Proposed Class identified on the Excel

Sheet.

      THEREFORE, this Court RECOMMENDS that Plaintiff’s Motion for

Conditional Certification and for Court-Supervised Notice to Issue (d/e 24)

be ALLOWED in part. The Court should conditionally certify the Proposed

Class and direct Defendants to provide the Plaintiffs with the Excel

Spreadsheet within seven days of approval of the Report and

Recommendation. The parties should be directed to confer and agree on

the language for the notice to be sent to members of the Proposed Class

and to submit the agreed notice to the Court within 14 days of approval of

this Report and Recommendation. If the parties cannot agree, each should

submit its proposed language within 14 days of approval of this Report and

Recommendation. Upon the Court’s approval of the notice, the Court

should authorize Plaintiffs to send the notice to the members of the

Proposed Class.

      The parties are advised that any objection to this Report and

Recommendation must be filed in writing with the Clerk of the Court within

fourteen days after service of a copy of this Report and Recommendation.

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28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 72(b)(2). Failure to file a timely

objection will constitute a waiver of objections on appeal. See Video

Views, Inc. v. Studio 21, Ltd., 797 F.2d 538, 539 (7th Cir. 1986). See Local

Rule 72.2.

ENTER: March 1, 2021

                            s/ Tom Schanzle-Haskins
                            TOM SCHANZLE-HASKINS
                        UNITED STATES MAGISTRATE JUDGE




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